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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF OHIO

PRETERM-CLEVELAND, et al.,                :
                                          :
      Plaintiffs,                         :     Case No: 1:19-cv-360
                                          :
      v.                                  :
                                          :     Hon. Michael Barrett
ATTORNEY GENERAL OF OHIO, et al.,         :
                                          :
      Defendants.                         :
______________________________________________________________________________

 BRIEF OF AMERICAN COLLEGE OF OBSTETRICIANS AND GYNECOL-
  OGISTS, AMERICAN MEDICAL ASSOCIATION, AND OTHER NATION-
       WIDE ORGANIZATIONS OF MEDICAL PROFESSIONALS AS
          AMICI CURIAE IN SUPPORT OF PLAINTIFFS’ MOTION
                    FOR A PRELIMINARY INJUNCTION
______________________________________________________________________________

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                  CORPORATE DISCLOSURE STATEMENT

     Amici curiae certify that no amicus is a publicly held corporation, that no amicus

has a parent company, and that no publicly held corporation owns 10% or more of any

amicus’s stock.



Dated: April 16, 2020                         /s/ Matthew D. Besser




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                              INTEREST OF AMICI CURIAE

        Amici are nationwide, non-partisan organizations of leading medical profes-

sionals and experts in the United States. They represent the doctors and nurses who

are on the front lines caring for patients and fighting the COVID-19 pandemic, at

great personal cost. Amici’s members are directly affected by the COVID-19 crisis

and the attendant shortages of hospital resources and personal protective equipment

(PPE). A full list of amici is provided in the appendix to this brief.1

        Amici submit this brief to provide the medical community’s perspective on the

March 17, 2020, order from the Ohio Department of Health (ODH). That order sig-

nificantly limits access to abortion care in the state during the COVID-19 pandemic.

It is the consensus of the nation’s medical experts that the COVID-19 pandemic does

not justify restricting or prohibiting abortion care. In fact, ODH’s order will increase,

rather than decrease, use of hospital resources and PPE. And it will not help stop

the spread of COVID-19. At the same time, the order poses a severe threat to the

health and well-being of women in Ohio. In sum, the order is contrary to the consid-

ered judgment of the medical community.

                INTRODUCTION AND SUMMARY OF ARGUMENT

        The ODH’s order broadly restricts abortion in Ohio during the COVID-19 pan-

demic. Amici are leading societies of medical professionals, whose policies represent

the considered judgment of many health care professionals in this country. Amici



1  No counsel for a party authored this brief in whole or in part, and no entity or person, other than
amici curiae, their members, and their counsel, made a monetary contribution to the preparation or
submission of this brief.

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recognize that reproductive health care is critical to a woman’s overall health and

that access to abortion is an important component of reproductive health care.

Amici’s position is that laws that regulate abortion should be supported by valid med-

ical justifications. ODH’s order lacks a valid medical justification. If allowed to go

into effect, it will render abortion largely inaccessible in the state and will severely

harm women. It also will severely chill doctors, by subjecting them to criminal pen-

alties for providing necessary medical care. And rather than promote public health,

the order will lead to increased use of hospital resources and PPE and the further

spread of COVID-19.

        On March 17, 2020, ODH issued an order prohibiting “all non-essential sur-

geries and procedures.”2 The Governor interpreted the order to ban all procedural

abortions except in cases of emergency,3 and the Attorney General has ordered Ohio

abortion providers to immediately stop performing those abortions. 4 That is, accord-

ing to Governor and Attorney General, the order permits medication abortions, which

are available through the tenth week of a pregnancy, 5 but prohibits non-emergency

abortions after that point. For women for whom medication abortion is medically

inappropriate, the order operates as a complete ban on non-emergency abortions. 6 In

the course of this litigation, state officials have suggested that a woman also may be


2   Ohio Dep’t of Health, Order for the Management of Non-Essential Surgeries and Procedures
Throughout Ohio 4 (Mar. 17, 2020) (ODH Order), https://perma.cc/2NSS-HYPJ.
3   See Gov. Mike DeWine, COVID-19 Update (Mar. 26, 2020) (COVID-19 Update),
https://perma.cc/CC6S-64M6.
4   Liner Decl. Ex. F, Dkt. No. 42-1 (Mar. 30, 2020); France Decl. Ex. B, Dkt. No. 42-2 (Mar. 30, 2020);
Haskell Decl. Ex. B, Dkt. No. 42-4 (Mar. 30, 2020).
5   See Ohio Rev. Code § 2919.123.
6   See Liner Decl. ¶ 27, Dkt. No. 42-1 (Mar. 30, 2020).

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allowed to have an abortion if she is about to reach 20 weeks – the point at which she

would no longer be able to obtain a non-emergency abortion under Ohio law. 7

         Thus, ODH’s order (as newly interpreted in the state officials’ brief) appears

to ban all non-emergency abortions between the tenth week of a pregnancy and ap-

proximately the twentieth week. It also means that women in Ohio who are not ap-

propriate candidates for medication abortion cannot obtain abortion until they ap-

proach 20 weeks’ gestation. Suffice it to say, ODH’s order significantly limits a

woman’s right to obtain abortion care during the COVID-19 pandemic.

         The stated purpose of the order is to preserve hospital resources and PPE.8

The order will remain in effect until the Governor lifts Ohio’s state of emergency or

the Director of ODH modifies or rescinds the order. 9

         Failure to comply with the order can have very serious consequences. Physi-

cians and medical professionals who violate the order may be subject to criminal pen-

alties, including up to a $750 fine and 90 days of imprisonment per violation. 10 Vio-

lators also are subject to discipline by the ODH and revocation of their professional

and facility licenses.11




7   Resp. to Mot. for Preliminary Injunction 3, Dkt. No. 59 (Apr. 8, 2020) (“Abortion providers can
perform surgical abortions necessary for a mother’s health or life, and also surgical abortions that
cannot be delayed without jeopardizing the patient’s abortion rights.”); see Ohio Rev. Code § 2919.201.
8   ODH Order 4 (“The Order is issued for the purposes of preserving personal protective equipment
(PPE) and critical hospital capacity and resources within Ohio.”)
9   Id.
10  See Ohio Rev. Code §§ 3701.352, 3701.99(C) (violation of ODH order is a second-degree misde-
meanor); id. § 2929.24(A)(2) (second-degree misdemeanor punishable by jail term up to 90 days); id.
§ 2929.28(A)(2)(a)(ii) (second-degree misdemeanor punishable by $750 fine).
11  See id. § 3702.32(D) (facility found to violate ODH rule may face license revocation); id.
§ 4731.22(B)(12) (commission of misdemeanor subjects violator to license revocation).

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       The ODH’s order is contrary to the considered judgment of the country’s lead-

ing physician organizations, including guidance from the American Medical Associa-

tion, the American College of Obstetricians and Gynecologists, and the American Col-

lege of Surgeons.12 The state’s limitations on abortion are not supported by accepted

medical practice or scientific evidence. There is a broad medical consensus that abor-

tion is essential health care, accessed by at least one-quarter of women in the United

States during their lifetimes. There is no evidence that prohibiting procedural abor-

tion during the pandemic will mitigate PPE shortages or promote public health and

safety.

       The order will severely limit safe abortion in Ohio. Abortion care will be de-

layed or, in some cases, denied altogether. Some women will travel long distances to

go out of state to obtain abortion care. And some women likely will resort to unsafe

methods of abortion.

       Amici’s members are on the front lines caring for patients, at great personal

risk. They understand that the COVID-19 pandemic is a public health crisis that

requires the full attention and resources of our health care system. But the COVID-

19 pandemic does not justify restricting abortion care in Ohio. Most abortions do not

require use of any hospital resources and use only minimal PPE. Indeed, the order

is likely to increase, rather than decrease, burdens on hospitals and use of PPE, as


12  Am. Coll. of Obstetricians & Gynecologists (ACOG), Joint Statement on Abortion Access During
the COVID-19 Outbreak (Mar. 18, 2020) (ACOG Joint Statement), https://perma.cc/52S9-LHUA; Am.
Coll. of Surgeons, COVID-19 Guidelines for Triage of Gynecology Patients (Mar. 24, 2020) (American
College of Surgeons Statement), https://perma.cc/4KXE-24KY; Am. Med. Ass’n, AMA Statement on
Government Interference in Reproductive Health Care (Mar. 30, 2020) (AMA Statement),
https://perma.cc/2YZR-2UXT.

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well as increase interstate travel. At the same time, the order will severely impair

essential health care for women, while placing doctors, nurses, and other medical

professionals in an untenable position by criminalizing necessary medical care.

       The Court should grant Plaintiffs’ motion for a preliminary injunction.

                                           ARGUMENT

I.     ABORTION IS ESSENTIAL, TIME-SENSITIVE, AND SAFE HEALTH
       CARE

       Abortion is an essential component of comprehensive health care. Like all

medical matters, decisions regarding abortion should be made by patients in consul-

tation with their physicians and health care professionals and without undue inter-

ference from outside parties.13 The medical community recognizes that “[a]ccess to

legal and safe pregnancy termination . . . is essential to the public health of women

everywhere.”14

       Abortion also is a common medical procedure. In 2017, medical professionals

performed over 860,000 abortions nationwide,15 including approximately 20,630 in




13  ACOG, Statement of Policy, Abortion (reaffirmed 2017) (ACOG Abortion Policy),
https://perma.cc/73RA-RMUK.
14  Editors of the New England Journal of Medicine et al., The Dangerous Threat to Roe v. Wade, 381
New Eng. J. Med. 979, 979 (2019) (stating the view of the editors, along with several key organizations
in obstetrics, gynecology, and maternal-fetal medicine, including the American Board of Obstetrics
and Gynecology); see ACOG Joint Statement; American College of Surgeons Statement; AMA State-
ment.
15  Rachel K. Jones et al., Abortion Incidence and Service Availability in the United States, 2017, at 7
(2019) (Abortion Incidence 2017).

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Ohio.16 Approximately one-quarter of American women will have an abortion before

the age of 45.17

        Abortion is one of the safest medical procedures performed in the United

States, and the vast majority (95%) of abortions are performed in clinics or doctor’s

offices, not in hospitals.18 Complication rates from abortion are extremely low – even

lower than other common medical procedures. 19 Most complications are relatively

minor and can be easily treated at a clinic and/or with antibiotics. 20

        Major complications from abortion are exceptionally rare, occurring in just 0.23

to 0.50 percent of cases, depending on the method used. 21 The risk of death from

abortion is even rarer. Nationally, fewer than one in 100,000 patients die from abor-

tion-related complications.22           The risk of death associated with childbirth is

approximately fourteen times higher than the risk associated with abortion. 23




16   Guttmacher Inst., State Facts About Abortion: Ohio (2020), https://perma.cc/L9JP-4Z65.
17   Rachel K. Jones & Jenna Jerman, Population Group Abortion Rates and Lifetime Incidence of
Abortion: United States, 2008-2014, 107 Am. J. Pub. Health 1904, 1908 (2017).
18   See, e.g., Rachel K. Jones & Kathryn Kooistra, Abortion Incidence and Access to Services in the
United States, 2008, 43 Perspectives on Sexual & Reprod. Health 41, 42 (2011) (Abortion Incidence
2008); Theodore Joyce, The Supply-Side Economics of Abortion, 365 New Eng. J. Med. 1466, 1467
(2011) (Joyce); National Academies of Sciences, Engineering, & Medicine, The Safety and Quality of
Abortion Care in the United States 10 (2018) (Safety and Quality of Abortion Care).
19   Safety and Quality of Abortion Care 10, 36 (“legal abortions in the United States . . . are safe and
effective,” and “[s]erious complications are rare,” affecting fewer than 1% of patients); see id. at 51-68.
20   See Ushma D. Upadhyay et al., Incidence of Emergency Department Visits and Complications After
Abortion, 125 Obstetrics & Gynecology 175, 181 (2015); Safety and Quality of Abortion Care 60, 116;
ACOG, Induced Abortion:            What Complications Can Occur with an Abortion? (2015),
https://perma.cc/DFU5-WL5D.
21   Kari White et al., Complications from First Trimester Aspiration Abortion: A Systematic Review
of the Literature, 92 Contraception 422, 434, 435 tbl. 7 (2015) (White).
22   Elizabeth G. Raymond & David A. Grimes, The Comparative Safety of Legal Induced Abortion and
Childbirth in the United States, 119 Obstetrics & Gynecology 215, 216 (2012) (Raymond & Grimes);
see ACOG, Guidelines for Women’s Health Care: A Resource Manual 719 (4th ed. 2014).
23   Raymond & Grimes 216.

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          State officials have interpreted ODH’s order to permit medication abortion.

Medication abortion is a safe and effective option for most women up through the

tenth week of pregnancy.24 For medication abortions, patients typically take the med-

ication to complete the procedure at home.25 For some women, medication abortion

is not medically appropriate because of underlying health conditions or other fac-

tors.26

          After ten weeks, patients receive procedural abortions, which commonly are

performed in clinics or doctor’s offices, as opposed to hospitals. 27 The safety of abor-

tions performed in office settings is equivalent to those performed in hospital set-

tings.28 (ODH’s order now bans those abortions in Ohio, except in very limited cir-

cumstances.)

          The overwhelming weight of medical evidence conclusively demonstrates that

abortion is an extremely safe, common medical procedure. The Supreme Court made

just that point in Whole Woman’s Health v. Hellerstedt, when it noted that “[t]he great

weight of evidence demonstrates that,” before Texas enacted certain regulations,




24  See Safety and Quality of Abortion Care 10, 51-55.
25  Tara C. Jatlaoui et al., Abortion Surveillance – United States 2015, 67 Morbidity & Mortality
Weekly Rep. 1, 33 tbl. 11 (2018) (Jatlaoui); Rachel K. Jones & Jenna Jerman, Abortion Incidence and
Service Availability in the United States, 2014, 49 Perspectives on Sexual & Reprod. Health 17, 24 tbl.
5 (2017) (Abortion Incidence 2014).
26  See ACOG & Soc’y of Family Planning, Practice Bulletin No. 143: Medical Management of First-
Trimester Abortion 6 (Mar. 2014) (ACOG Practice Bulletin 143), https://perma.cc/5B6K-2HY3; see also
Liner Decl. ¶ 27, Dkt. No. 42-1 (Mar. 30, 2020).
27  Abortion Incidence 2017.
28  Sarah C.M. Roberts et al., Association of Facility Type with Procedural-Related Morbidities and
Adverse Events Among Patients Undergoing Induced Abortions, 319 JAMA 2497, 2505 (2018); White
440; see Safety and Quality of Abortion Care 10, 73, 79.

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“abortion in Texas was extremely safe with particularly low rates of serious compli-

cations and virtually no deaths occurring on account of the procedure.” 29

        While abortion is a safe and common medical procedure, it is also a time-sen-

sitive one for which a delay may increase the risks or potentially make it completely

inaccessible. The consequences of being unable to obtain an abortion profoundly im-

pact a person’s life, health, and well-being.

II.     ODH’S ORDER WILL MAKE SAFE, LEGAL ABORTION LARGELY IN-
        ACCESSIBLE IN OHIO

        ODH’s order will lead to abortion care being delayed or denied. As of 2017,

there were only nine abortion clinics in the entire state of Ohio, serving some 2.2

million women of reproductive age.30 If Ohio doctors and medical professionals must

forgo all non-emergency procedural abortions, many patients will not be able to ob-

tain appropriate abortion care. According to the state officials, any woman who is

ineligible for medication abortion – either because she is not a good candidate for

medication abortion under accepted clinical guidance, 31 or because she is more than



29   136 S. Ct. 2292, 2302 (2016) (quoting district court’s order); see June Medical Services LLC v.
Kliebert, 250 F. Supp. 3d 27, 61 (M.D. La. 2017) (“Abortion is one of the safest medical procedures in
the United States.”), rev’d, 905 F.3d 787 (5th Cir. 2018), cert. granted, 140 S. Ct. 35 (2019) (No. 18-
1323) (argued Mar. 4, 2020).
30   See Jonathan Bearak et al., COVID-19 Abortion Bans Would Greatly Increase Driving Distances
for Those Seeking Care, Guttmacher Institute (Apr. 2, 2020) (Bearak), https://perma.cc/Z2UA-NTP7.
31   Contraindications for medication abortion include confirmed or suspected ectopic pregnancy, in-
trauterine device (IUD) in place, current long-term systemic corticosteroid therapy, chronic adrenal
failure, known coagulopathy or anticoagulant therapy, and intolerance or allergy to mifepristone.
Most clinical trials also have excluded women with severe liver, renal, or respiratory disease or uncon-
trolled hypertension or cardiovascular disease (angina, valvular disease, arrhythmia, or cardiac fail-
ure). Women also are not good candidates for medical abortion if they are unable or unwilling to
adhere to care instructions, desire quick completion of the abortion process, are not available for follow-
up contact or evaluation, or cannot understand the instructions because of language or comprehension
barriers. ACOG Practice Bulletin 143, at 6.

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ten weeks pregnant32 – cannot obtain an abortion, unless she waits until she is ap-

proaching the 20-week mark and manages to obtain an abortion from one of the few

providers before she passes that mark.33

        Delays in obtaining abortion care can compromise patients’ health. Abortion

should be performed as early as possible because, although abortion procedures are

among the safest medical procedures, the associated rate of complications increases

as the pregnancy progresses.34 It is relatively safer for a woman to obtain abortion

care earlier in pregnancy than later. This is one of the reasons the nation’s leading

medical experts oppose orders (like the one here) that delay abortion care during the

COVID-19 pandemic.35 The state officials’ position that women should wait until they

are as close as possible to the point at which they can no longer obtain an abortion in

Ohio (20 weeks), and then rush to obtain an abortion, makes no sense and actually

increases the risks to the patients.

        Further, many women face resource constraints, work schedules, and family

demands that make it difficult or impossible to plan to seek abortion care during a

narrow window of time. For women who face barriers to access due to lack of re-

sources, requiring that an abortion procedure be delayed until she is approaching 20

weeks of pregnancy could mean, as a practical matter, that the woman will not be

able to obtain abortion care. ODH’s order harms these women by conditioning their

access to abortion based on their ability to obtain care within arbitrary time periods.


32   See Ohio Rev. Code § 2919.123.
33   See Ohio Rev. Code § 2919.201.
34   Safety and Quality of Abortion Care 75; see ACOG Abortion Policy.
35   See ACOG Joint Statement; American College of Surgeons Statement; AMA Statement.

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       As a result of the order, some women will travel out of state in order to attempt

to obtain abortion care. One recent study concluded that if Ohio were to shut down

legal abortion care (as ODH’s order does in most cases after ten weeks), “[t]he average

(median) one-way driving distance to an abortion clinic for a woman of reproductive

age in Ohio would increase from 15 miles to 120 miles (or 700% longer).” 36 While the

out-of-state travel itself poses an undue burden on women seeking abortion care, each

of Ohio’s five neighboring states also imposes a waiting period of 18 hours or more. 37

Two of those states (Indiana and Kentucky) also require a mandatory in-person con-

sultation visit, necessitating two separate visits to the same facility. 38

       For many women, especially low-income women, “[i]t is often difficult . . . to

make the necessary arrangements to travel to a clinic, especially one that is far away.

Finding child care, taking time off work and covering the cost of gas increase patients’

out-of-pocket expenses and are logistically challenging to arrange.” 39 And out-of-state

travel may be particularly challenging as a result of COVID-19 because of “economic

uncertainty from lost wages and need to care for children who are at home.” 40

       ODH’s order will also likely cause some women to resort to unsafe methods of

care. Studies have found that women are more likely to self-induce abortions when




36  Bearak.
37  See Guttmacher Inst., Counseling and Waiting Periods for Abortion (2020),
https://perma.cc/TW5C-ZNBJ.
38  See id.
39  See Kari White et al., The Potential Impacts of Texas’ Executive Order on Patients’ Access to Abor-
tion Care, Tex. Policy Evaluation Project, Research Brief 3 (2020), https://perma.cc/5V3F-25UK.
40  Id.

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they face barriers to reproductive services.41 For example, from 2011 to 2013, Texas

severely curtailed the ability to obtain abortion care, leading to sharp declines in

abortions performed in that state.42 A study that surveyed Texas women seeking

abortions in 2013 concluded that “self-managed abortion may become more common

if clinic-based abortion care becomes more difficult to access,” especially “among poor

women – who make up more than half of all abortion patients.” 43

       In Ohio, many women will not have the means to travel out of state for abortion

care, which increases the likelihood that they will attempt to self-induce abortion or

seek an illegal abortion.44 Methods of self-induction may rely on harmful tactics such

as herbal or homeopathic remedies, getting punched in the abdomen, using alcohol

or illicit drugs, or taking hormonal pills.45

       Finally, evidence suggests that women are more likely to experience short-

term psychological issues when denied an abortion. For example, women denied




41  See, e.g., Lisa H. Harris & Daniel Grossman, Complications of Unsafe and Self-Managed Abortion,
382 New Eng. J. Med. 1029, 1029 (2020).
42  Liza Fuentes et al., Texas Women’s Decisions and Experiences Regarding Self-Managed Abortion,
BMC Women’s Health 2 (2020).
43  Id. at 11.
44  See ACOG, Comm. on Health Care for Underserved Women, Opinion Number 613: Increasing
Access to Abortion, 124 Obstetrics & Gynecology 1060, 1061-62 (2014) (ACOG Opinion 613); Elizabeth
G. Raymond et al., Mortality of Induced Abortion, Other Outpatient Surgical Procedures and Common
Activities in the United States, 90 Contraception 476, 478 (2014).
45  Daniel Grossman et al., Knowledge, Opinion and Experience Related to Abortion Self-Induction in
Texas, Tex. Policy Evaluation Project, Research Brief 3 (2015).

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abortions because of gestational age bans are more likely to report short-term symp-

toms of anxiety than those women who received an abortion.46 Accordingly, re-

strictions on abortion, such as those at issue here, are detrimental to women’s physi-

cal and psychological health and well-being.

III.    THERE IS NO MEDICAL JUSTIFICATION FOR ODH’S ORDER, AND
        IT WILL SEVERELY HARM WOMEN AND MEDICAL PROFESSION-
        ALS

        A.      The COVID-19 Pandemic Does Not Justify Restricting Or Pro-
                hibiting Abortion Care In Ohio

        It is the consensus of the nation’s medical experts that the COVID-19 pandemic

does not justify restricting or prohibiting abortion care.47 The state officials have

sought to justify the order’s restrictions on abortion by claiming that they will reduce

demands on hospital resources and preserve PPE.48 The order will not further those

goals; instead, it will make the problem worse. 49

        Permitting abortion care – which is essential, time-sensitive health care – will

not substantially increase the burdens hospitals face as a result of the COVID-19




46   M. Antonia Biggs et al., Women’s Mental Health and Well-Being 5 Years After Receiving or Being
Denied an Abortion: A Prospective, Longitudinal Cohort Study, 74 JAMA Psychiatry 169, 172 (2017).
47   ACOG Joint Statement (ACOG and several other medical organizations “do not support COVID-
19 responses that cancel or delay abortion procedures.”); American College of Surgeons Statement (list-
ing “[p]regnancy termination (for medical indication or patient request)” as a “[s]urger[y] that if sig-
nificantly delayed could cause significant harm”); AMA Statement (In response to states issuing orders
“ban[ning] or dramatically limit[ing] women’s reproductive health care,” the AMA’s view is that “phy-
sicians – not politicians – should be the ones deciding which procedures are urgent-emergent and need
to be performed, and which ones can wait, in partnership with our patients.”).
48   See ODH Order 4.
49   See, e.g., Michelle J. Bayefsky et al., Abortion During the Covid-19 Pandemic – Ensuring Access to
an Essential Health Service, New Eng. J. Med (Apr. 9, 2020) (Bayefsky), https://perma.cc/X88X-UYHG.

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pandemic. The vast majority of abortions are performed in non-hospital settings. 50

And very, very few abortions result in complications that require hospitalization. 51

Because most abortion care is delivered in outpatient settings, providing abortion

care almost never requires hospital resources, including hospital PPE.

        In particular, procedural abortions rarely use hospital resources and require

only minimal PPE. They typically are performed in outpatient settings, and typically

only use gloves, a surgical mask (not an N95 face mask), reusable eyewear, and dis-

posable and/or washable outerwear.52 Absent unusual circumstances (such as a pa-

tient suspected of having contracted COVID-19), procedural abortion does not require

use of the PPE most needed to fight the COVID-19 pandemic, such as N95 face

masks.53

        ODH’s order thus does not further its stated goals. And in fact, it does the

opposite. Effectively banning abortion will increase reliance on the health care sys-

tem and use of PPE. Pregnant women remain in the health care system. They often

visit hospitals (including emergency rooms) for evaluation, thus using hospital bed

space and resources. Most women also give birth in hospitals, and some births even

require surgery. Each of these events will require hospital resources, including PPE.



50  Jatlaoui 33 tbl. 11; Joyce 1467; see Abortion Incidence 2014, at 24 tbl. 5; Abortion Incidence 2008,
at 42.
51  Ushma D. Upadhyay et al., Incidence of Post-Abortion Complications and Emergency Department
Visits Among Nearly 55,000 Abortions Covered by the California Medi-Cal Program slide 28 (Jan. 28,
2014), https://perma.cc/Y4NJ-WM7Q.
52  See Liner Decl. ¶ 7, Dkt. No. 42-1 (Mar. 30, 2020); France Decl. ¶ 8, Dkt. No. 42-2 (Mar. 30, 2020);
Krishen Decl. ¶ 10, Dkt. No. 42-3 (Mar. 30, 2020); Haskell Decl. ¶ 10, Dkt. No. 42-4 (Mar. 30, 2020);
Burkons Decl. ¶ 10, Dkt. No. 42-5 (Mar. 30, 2020).
53  See, e.g., Planned Parenthood Center for Choice v. Abbott, No. A-20-CV-323-LY, 2020 WL 1815587,
at *4 (W.D. Tex. Apr. 9, 2020) (“Abortion providers generally do not use N95 masks”).

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As one district court recently explained, “[p]regnant women prevented from accessing

abortion will still require medical care,” and “delaying access to abortion will not con-

serve PPE” or “hospital resources.”54

        Forcing patients to wait until later gestational ages to have an abortion also

will not further the state’s stated goals. While abortion is incredibly safe, the relative

risk of complications increases as pregnancy progresses. Accordingly, the state’s de-

cision to ban abortion in earlier stages of pregnancy (from 10 to 20 weeks) but then

permit it at the end of the gestational age range for which abortion is legal in Ohio

will do nothing to reduce reliance on the health care system or reduce the possibility

of complications requiring intervention.

        Further, women who attempt unsafe, unmanaged abortions may require emer-

gency hospitalization. That could use significant hospital resources, including PPE.

And for the few women who may have the resources to travel to another state to

obtain an abortion, there is no evidence that abortions in other states would utilize

less medical equipment than abortions in Ohio. Further, travel is a factor that con-

tributes to the spread of COVID-19.55 Many Governors have issued “shelter-in-place”

orders that prevent people from even leaving their homes, except in certain narrow

circumstances, to reduce the spread of COVID-19.56


54  Planned Parenthood, 2020 WL 1815587, at *4; see Bayefsky (pregnancy “could lead to much more
contact with clinicians and greater need for PPE, thereby increasing risks to both patients and staff ”).
55  Centers for Disease Control & Prevention, Coronavirus Disease 2019 (COVID-19) – Travel in the
US (last reviewed Mar. 30, 2020), https://perma.cc/2QA7-TL9M; see Planned Parenthood, 2020 WL
1815587, at *5 (“long-distance travel” to obtain abortion “increases an individual’s risk of contracting
COVID-19”).
56  See, e.g., Sarah Mervosh et al., See Which States and Cities Have Told Residents to Stay at Home,
N.Y. Times (updated Apr. 7, 2020), https://perma.cc/V58G-67GK.

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       The state officials concede that this abortion ban “will increase the need for

hospital treatment in the long run,” but insist that it is justified by short-term bene-

fits.57 That is wrong. Many women will continue using healthcare resources in the

short-term if they are denied abortion care: They will either attempt to self-induce

abortion (risking injury and hospitalization), or they will travel out of state (risking

intercommunity transmission and still using abortion services), or they will remain

pregnant and require prenatal care. Each of those alternatives to timely, local, and

professional abortion care will increase the demand for PPE and other hospital re-

sources.

       Amici are on the front lines of the COVID-19 pandemic. Their members are

caring for patients every day in trying circumstances and in cases where they have

not been provided adequate PPE or testing. Amici recognize the importance of con-

serving hospital and PPE resources during this critical time. But banning procedural

abortion, or forcing women to delay care until later gestational ages, will not preserve

or mitigate shortages of hospital resources and PPE that the nation’s medical profes-

sionals need to care for people during the pandemic. There is simply no evidence or

logic under which that would be the case.

       B.      The Order Will Harm Women And Pose A Serious Threat To Med-
               ical Professionals In Ohio

       ODH’s order essentially bans non-emergency procedural abortions in the state,

which will increase the likelihood that women will delay the procedure or will not be



57 Resp. to Mot. for Preliminary Injunction 21, 23, Dkt. No. 59 (Apr. 8, 2020) (internal quotation
marks omitted).

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able to obtain the procedure at all. As discussed, the order means women may travel

outside the state to obtain abortions, attempt to self-induce abortions through poten-

tially harmful methods, or ultimately be unable to obtain abortions at all, forcing

them to carry an unwanted pregnancy to term. 58 Each of these outcomes increases

the likelihood of negative consequences to a woman’s physical and psychological

health that could be avoided if abortion services were available.59 Being forced to

carry a pregnancy to term could profoundly affect a person’s life, health, and well-

being.

         The order also poses serious threats to physicians and medical professionals.

Now, in addition to fighting the COVID-19 pandemic, doctors and medical profession-

als must try to figure out how they can continue providing care without violating the

order and worry about the state criminally prosecuting them for doing their jobs. Un-

der the order, doctors, nurses, and other medical professionals who perform abortion

care that is constitutionally protected and medically necessary could lose their li-

censes and even be subject to criminal penalties. Those are draconian sanctions to

place on individuals who are only attempting to offer the best possible care to their

patients.

         Finally, ODH’s order further burdens women and medical professionals for an

additional reason: It is far too vague and uncertain. The order on its face prohibits

only “non-essential surgeries and procedures.” 60 The Governor and Attorney General



58   See, e.g., Abortion Incidence 2017, at 3, 8.
59   See, e.g., ACOG Opinion 613.
60   ODH Order 4.

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has interpreted it to prohibit all non-medication (procedural) abortions, meaning all

abortions after ten weeks, except in cases of emergency. 61 In their most recent brief

to this Court, the state officials have attempted to qualify the order’s reach by sug-

gestion that a woman could obtain an abortion after 10 weeks if the abortion “cannot

be delayed without jeopardizing the patient’s abortion rights.”62 This appears to

mean that a woman may obtain an abortion if she is nearing the 20-week point.

       The state officials’ new qualification raises more questions than it answers: Is

this an authoritative constructive of state law, or merely a convenient litigating po-

sition? How could it be enforced? At what point in the 10- to 20-week “ban” period is

does a woman get close enough to 20 weeks that she may obtain an abortion? May a

doctor perform a procedure at 20 weeks minus three days? At 19 weeks? At 18

weeks? What if the patient is at 16 weeks, and the doctor expects the COVID-19

emergency to last at least another 4 weeks? Doctors and their patients should not be

forced to make these judgment calls, under threat of criminal punishment if they

guess wrong about how ODH’s order will be enforced.

                                            *****

       Abortion is essential health care for women, protected by the Constitution. No

valid medical justification supports ODH’s order. Amici urge this Court to grant

Plaintiffs’ motion for a preliminary injunction.




61  See COVID-19 Update; Liner Decl. Ex. F, Dkt. No. 42-1 (Mar. 30, 2020); France Decl. Ex. B, Dkt.
No. 42-2 (Mar. 30, 2020); Haskell Decl. Ex. B, Dkt. No. 42-4 (Mar. 30, 2020),.
62  Resp. to Mot. for Preliminary Injunction 3, Dkt. No. 59 (Apr. 8, 2020).

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                               CONCLUSION

     The motion for a preliminary injunction should be granted.


                                           Respectfully submitted,

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                                    APPENDIX

                            LIST OF AMICI CURIAE

      1.     The American College of Obstetricians and Gynecologists

(ACOG) is the nation’s leading group of physicians providing health care for women.

With more than 60,000 members – representing more than 90 percent of all obstetri-

cians-gynecologists in the United States – ACOG advocates for quality health care

for women, maintains the highest standards of clinical practice and continuing edu-

cation of its members, promotes patient education, and increases awareness among

its members and the public of the changing issues facing women’s health care. ACOG

is committed to ensuring access to the full spectrum of evidence-based quality repro-

ductive health care, including abortion care, for all women. ACOG opposes medically

unnecessary laws or restrictions that serve to delay or prevent care. ACOG has pre-

viously appeared as amicus curiae in various courts throughout the country. ACOG’s

briefs and guidelines have been cited by numerous courts as providing authoritative

medical data regarding childbirth and abortion.

      2.     The American Medical Association (AMA) is the largest professional

association of physicians, residents, and medical students in the United States. Ad-

ditionally, through state and specialty medical societies and other physician groups

seated in the AMA’s House of Delegates, substantially all U.S. physicians, residents,

and medical students are represented in the AMA’s policymaking process. The objec-

tives of the AMA are to promote the science and art of medicine and the betterment

of public health. AMA members practice in all fields of medical specialization and in



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every state. The federal courts have cited the AMA’s publications and amicus curiae

briefs in cases implicating a variety of medical questions.

      3.     The American Academy of Family Physicians (AAFP) is the na-

tional medical specialty society representing family physicians. Founded in 1947 as

a not-for-profit corporation, its 134,600 members are physicians and medical students

from all 50 states, the District of Columbia, Guam, Puerto Rico, the Virgin Islands,

and the Uniformed Services of the United States. AAFP seeks to improve the health

of patients, families, and communities by advocating for the health of the public and

serving the needs of its members with professionalism and creativity.

      4.     The American Academy of Nursing (Academy) serves the public by

advancing health policy through the generation, synthesis, and dissemination of

nursing knowledge. Academy Fellows are inducted into the organization for their

extraordinary contributions to improve health locally and globally. With more than

2,800 Fellows, the Academy represents nursing’s most accomplished leaders in policy,

research, administration, practice, and academia.

      5.     The American Academy of Pediatrics (AAP) is a non-profit profes-

sional organization founded in 1930 dedicated to the health, safety, and well-being of

infants, children, adolescents, and young adults. Its membership is comprised of

67,000 primary care pediatricians, pediatric medical subspecialists, and pediatric

surgical specialists. AAP has become a powerful voice for child and adolescent health

through education, research, advocacy, and the provision of expert advice. AAP has

worked with the federal and state governments, health care providers, and parents



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on behalf of America’s families to ensure the availability of safe and effective repro-

ductive health services.

      6.     The American College of Osteopathic Obstetricians and Gynecol-

ogists (ACOOG) is a non-profit, non-partisan organization committed to excellence

in women’s health representing over 2,500 providers. ACOOG educates and supports

osteopathic physicians to improve the quality of life for women by promoting pro-

grams that are innovative, visionary, inclusive, and socially relevant. ACOOG is like-

wise committed to the physical, emotional, and spiritual health of women.

      7.     The American Osteopathic Association (AOA) represents more than

151,000 osteopathic physicians (DOs) and osteopathic medical students; promotes

public health; encourages scientific research; serves as the primary certifying body

for DOs; and is the accrediting agency for osteopathic medical schools. As the primary

certifying body for DOs and the accrediting agency for all osteopathic medical schools,

the AOA works to accentuate the distinctiveness of osteopathic principles and the

diversity of the profession.

      8.     The American Psychiatric Association (APA) is a non-profit organi-

zation representing over 38,800 physicians who specialize in the practice of psychia-

try. APA members engage in research into and education about diagnosis and treat-

ment of mental health and substance use disorders, and are front-line physicians

treating patients who experience mental health and/or substance use disorders.




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      9.     The American Society for Reproductive Medicine (ASRM) is a

multidisciplinary not-for-profit organization dedicated to the advancement of the sci-

ence and practice of reproductive medicine. Its members include approximately 8,000

professionals. ASRM accomplishes its mission through the pursuit of excellence in

education and research and through advocacy on behalf of patients, physicians, and

affiliated health care providers.

      10.    The American Urogynecologic Society (AUGS) is the premier non-

profit organization representing professionals dedicated to treating female pelvic

floor disorders. Founded in 1979, AUGS represents more than 1,900 members, in-

cluding practicing physicians, nurse practitioners, physical therapists, nurses and

health care professionals, and researchers from many disciplines.

      11.    The North American Society for Pediatric and Adolescent Gyne-

cology (NASPAG) is dedicated to providing multidisciplinary leadership in educa-

tion, research, and gynecologic care to improve the reproductive health of youth.

NASPAG conducts and encourages multidisciplinary and inter-professional pro-

grams of medical education and research in the field and advocates for the reproduc-

tive well-being of children and adolescents and the provision of unrestricted, unbi-

ased, and evidence-based medical practice.

      12.    The National Association of Nurse Practitioners in Women’s

Health (NPWH) is a national non-profit educational and professional organization

that works to ensure the provision of quality primary and specialty health care to

women of all ages by women’s health and women’s health focused nurse practitioners.



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Its mission includes protecting and promoting a woman’s right to make her own

choices regarding her health within the context of her personal, religious, cultural,

and family beliefs. Since its inception in 1980, NPWH has been a trusted source of

information on nurse practitioner education, practice, and women’s health issues. In

keeping with its mission, NPWH is committed to ensuring the availability of the full

spectrum of evidence-based reproductive health care for women and opposes unnec-

essary restrictions on access that serve to delay or prevent care.

      13.    The Society for Adolescent Health and Medicine (SAHM), founded

in 1968, is a non-profit multidisciplinary professional society committed to the pro-

motion of health, well-being, and equity for all adolescents and young adults by sup-

porting adolescent health and medicine professionals through the advancement of

clinical practice, care delivery, research, advocacy, and professional development. It

strives to empower its 1,200 members who are professionals and trainees in medicine,

nursing, research, psychology, public health, social work, nutrition, education, and

law from a variety of settings. Through education, research, clinical services and ad-

vocacy activities, SAHM enhances public and professional awareness of adolescent

health issues among families, educators, policy makers, youth-serving organizations,

students in the field as well as other health professionals around the world. SAHM

continues to advocate on behalf of all adolescents and young adults both on federal

and state government levels for the availability of safe and effective reproductive

health services.




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      14.       The Society for Maternal-Fetal Medicine (SMFM), founded in 1977,

is the medical professional society for obstetricians who have additional training in

the area of high-risk, complicated pregnancies. Representing over 4,000 members,

SMFM supports the clinical practice of maternal-fetal medicine by providing educa-

tion, promoting research, and engaging in advocacy to reduce disparities and optimize

the health of high-risk pregnant women and their babies. SMFM and its members

are dedicated to ensuring that medically appropriate treatment options are available

for high-risk women.

      15.       The Society of Family Planning (SFP) is the source for science on

abortion and contraception. SFP represents approximately 800 scholars and aca-

demic clinicians united by a shared interest in advancing the science and clinical care

of family planning. The pillars of its strategic plan are (1) building and supporting a

multidisciplinary community of scholars and partners who have a shared focused on

the science and clinical care of family planning; (2) supporting the production of re-

search primed for impact; (3) advancing the delivery of clinical care based on the best

available evidence; and (4) driving the uptake of family planning evidence into policy

and practice.

      16.       The mission of the Society of Gynecologic Surgeons is to promote

excellence in gynecologic surgery through acquisition of knowledge and improvement

of skills, advancement of basic and clinical research, and professional and public ed-

ucation.




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      17.   The Society of OB/GYN Hospitalists (SOGH) is a rapidly growing

group of physicians, midwives, nurses and other individuals in the health care field

who support the OB/GYN Hospitalist model. SOGH is dedicated to improving out-

comes for hospitalist women and supporting those who share this mission. SOGH’s

vision is to shape the future of OB/GYN by establishing the hospitalist model as the

care standard and the Society values excellence, collaboration, leadership, quality

and community.




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                        CERTIFICATE OF SERVICE

      I hereby certify that on April 17, 2020, I electronically filed the foregoing brief

with the Clerk of the Court using the CM/ECF system. I further certify that all par-

ticipants in this case are registered CM/ECF users and that service will be accom-

plished via CM/ECF.



Dated: April 17, 2020                          /s/ Matthew D. Besser




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